
342 S.W.3d 436 (2011)
ESTATE OF Virginia BOWSER by and through Ronald BOWSER and Richard Bowser, Co-Personal Respresentatives, and Ronald Bowser, Individually, and Richard Bowser, Individually, Appellants,
v.
Michael F. MEURER, M.D., Thoracic &amp; Vascular Surgeons and Thoracic &amp; Vascular Surgeons, P.A., a Kansas Corporation, d/b/a Thoracic &amp; Vascular Surgeons, P.C., Respondents.
No. WD 72597.
Missouri Court of Appeals, Western District.
June 14, 2011.
John H. Norton and Kathryn S. Perkins, Kansas City, MO, for Appellants.
Bruce Keplinger and John Hicks, Overland Park, KS, for Respondents.
Before Division II: JAMES M. SMART, JR., Presiding Judge, and MARK D. PFEIFFER and CYNTHIA L. MARTIN, Judges.

Order
PER CURIAM:
The Estate of Virginia Bowser and Ronald Bowser and Richard Bowser, individually and as co-personal representatives of the Estate (collectively, "Estate"), appeal from the Judgment on a jury verdict entered on March 30, 2010, in the Circuit Court of Clay County, Missouri ("trial court"), in favor of Michael F. Meurer, M.D. ("Meurer") and Thoracic &amp; Vascular Surgeons, P.A on the Estate's claim of medical malpractice.
The Estate's sole point on appeal is that the trial court erred in denying the Estate's pretrial motion to strike Meurer's medical expert. Dr. Hugh Burnett ("Burnett"), because Burnett's deposition testimony failed to apply the applicable standard of care to his medical opinions, even though Burnett testified live at trial without objection and, at such time, did testify according to the applicable standard of care for providing medical opinions in Missouri. We affirm in this per curiam order and have provided the parties a legal memorandum explaining our ruling. Rule 84.16(b).
